EXHIBIT “A”
EXHIBIT “B”
EXHIBIT “C”
EXHIBIT “D”
EXHIBIT “E”
1650 Market Street | One Liberty Place, Suite 1800 | Philadelphia, PA 19103-7395                                     TAX I.D. # XX-XXXXXXX
Main 215.864.7000 | Fax 215.864.7123


Crawl Space Door Systems                                                                                  Invoice Number           734830
3700 Shore Drive #101                                                                                     Invoice Date            07/18/19
Virginia Beach, VA 23455                                                                                  Client Number           0036031
                                                                                                          Matter Number             00001

Attn: William G. Sykes

Our File:     0036031.00001                                                                          Handling Attorney: Siobhan K. Cole

Re: Smart Vent Products, Inc. v. Crawl Space Door System, Inc.

For Professional Services Rendered from 06/01/19 through 06/30/19:


Date                                                                                                                       Atty     Hours
06/01/19         Drafting Motions in Limine;                                                                               SKC         4.2
                 Continued drafting motion to preclude Plaintiff's genericness expert, Dr. Seggev, at trial                NBM         6.2
                 on the basis of his flawed methodology and improper sampling size;
                 Drafting Motion in Limine; Legal research and review of pleadings for same;                               MB          4.9
06/02/19         Drafting Motions in Limine                                                                                SKC         2.2
                 Revised motion to preclude Dr. Seggev at trial in preparation to file same by upcoming                    NBM         5.6
                 Court ordered deadline;
                 Drafting Motions in Limine; Legal research re: same; Correspondence with S. Cole re:                      MB          4.8
                 same;
06/03/19         Drafting Motions in Limine                                                                                SKC         7.4
                 Revised motions in limine re: (1) precluding evidence and testimony relating to Smart                     NBM         9.4
                 Vent's flood vents; (2) precluding Trexler's testimony and legal conclusions; and (3) Dr.
                 Seggev's expert report and testimony re: genericness study;
                 Review Tom Little's deposition re drafting motion in limine to preclude his testimony;                     SY        10.2
                 Drafted motion in limine to preclude testimony of Tom Little; Research Federal Rules of
                 Evidence and case law regarding bias of expert witnesses, expert witness
                 requirements, and expert report preclusion re drafting motion in limine to preclude Tom
                 Little's testimony;
                 Drafting Motions in Limine; Legal research re: same; Correspondence and meeting with                      MB          2.9
                 S. Cole re: same;
06/04/19         Legal research, finding and reviewing cases from the District of New Jersey on whether                    GEC         1.2
                 one party has used a confidential designation for documents that should not be
                 designated confidential;
                 Worked to finalize and file all motions in limine on behalf of CSD;                                       SKC         6.7
                 Revised all motions in limine, reviewed and redacted "Attorneys Eyes Only" information,                   NBM        10.9
                 prepared all exhibits and accompanying papers and prepared same for midnight filing
                 deadline;
                 Review discovery confidentiality order re objections and modifications; Research rules                     SY         8.7
                 for confidentiality orders pertaining to discovery re objections and modifications;

                                Delaware | Massachusetts | New Jersey | New York | Pennsylvania | Rhode Island
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Date                                                                                                           Atty     Hours
             Continued drafting motion in limine to preclude testimony of Tom Little;
             Drafting MIL; Legal research re: same; Correspondence with S. Cole re: same; Filing                MB         3.9
             same;
06/05/19     Reviewed and analyzed all motions in limine filed by Smart Vent;                                 SKC          4.6
             Began review of Smart Vent's Motion in Limine to preclude testimony/opinions of Robert           NBM          0.3
             Wallace at trial;
             Continued researching rules and standards for confidentiality orders re objections and             SY         3.7
             modifications;
             Review of Plaintiff's Motions in Limine; Communication with S. Cole re: response;                  MB         0.7
06/06/19     Reviewed and analyzed all prior scheduling orders and federal rules of civil procedure in        SKC          5.0
             order to confirm untimeliness of Smart Vent's motion for summary judgment; Exchanged
             numerous calls and emails with Mr. Sykes and Mr. Byers and worked generally on
             issues pertaining to motions in limine and confidentiality;
             Reviewed motions in limine including exhibits and performed extensive Daubert                     JEP         8.5
             research to respond to motion to preclude expert;
             Drafted summary of case law concerning modification of confidentiality                             SY         7.4
             orders/overdesignation of attorneys; eyes only designations; Researched 3rd Circuit
             cases addressing untimely summary judgment motions;
             Communication with S. Cole re: response to partial summary judgment motion;                        MB         0.2
06/07/19     Drafted and filed letter motion seeking to strike Smart Vent's motion for summary                SKC          3.8
             judgment as untimely; Worked to identify issues and coordinate responses to motions in
             limine
             Began drafting response to motion in limine including reviewing expert deposition                 JEP         5.8
             transcripts;
             Meeting to discuss necessary research re: introduction of Smart Vent's prior lawsuits;           NBM          1.9
06/09/19     Reviewed Smart Vent's motion to preclude Wallace's expert report and testimony in                NBM          2.1
             preparation to respond thereto;
06/10/19     Reviewed and analyzed Smart Vent's response to CSD request to strike improper                    SKC          1.0
             Motion for Summary Judgment and exchanged correspondence re: same;
             Review of letter from Smart Vent counsel re: Motion for Partial Summary Judgment;                  MB         0.2
             Correspondence with S. Cole and J. Proper re: same;
06/11/19     Reviewed Order issued by Magistrate Judge Williams re: on the record conference and              SKC          0.3
             exchanged correspondence re: same;
             Reviewed research re: admissibility of evidence relating to plaintiff's prior litigation;        NBM          0.4
06/12/19     Analyzed and prepared all trial exhibits identified by Smart Vent for confidentiality            SKC          7.4
             objections;
             Conference call with client and continued drafting response to motion in limine;                  JEP         5.7
             Continued review and organization of Smart Vent's trial exhibits;                                NBM          3.8
             Reviewed Smart Vent's motion in limine to preclude the introduction of evidence relating           SY         1.8
             to Smart Vent's other litigation re drafting an opposition; Research rules of evidence and
             case law relating to introducing prior litigation re drafting opposition to motion in limine;
             Review of Motion for Partial Summary Judgment; Legal research re: same;                            MB         3.8
             Correspondence with S. Cole re: same;
06/13/19     More work on plaintiff's trial exhibits, gathering fragments of documents, combining files,      GEC          3.9
0036031    Crawl Space Door Systems                                                                 Invoice Number      734830
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Date                                                                                                            Atty     Hours
             and trying to obtain less blurry images;
             Exchanged correspondence with counsel for Smart Vent re: conference with Judge                     SKC         5.7
             Williams; Exchanged correspondence with Dr. Rice; Continued working on trial exhibits
             and confidentiality issues; Working on response to Rice Motion in Limine; Continued
             working on multiple trial prep items including responses to motions in limine;
             Continued researching case law for introduction of other litigation re drafting response to         SY         8.6
             plaintiff's motion in limine to exclude evidence of other litigation; Review plaintiff's partial
             motion for summary judgment as to the "FEMA Accepted" counterclaims re researching
             case law for defendants' opposition; Research case law for laches, SOL, and waiver re
             opposition to plaintiff's partial motion for summary judgment as to defendant's "FEMA
             accepted" counterclaims; Drafting summary on case law for laches, SOL, waiver re
             responding to plaintiff's partial motion for summary judgment as to defendant's "FEMA
             accepted" counterclaims; Reviewed Plaintiff's amended complaint and complaints in
             plaintiff's other litigations re drafting a response to plaintiff's motion in limine to exclude
             evidence of other litigation;
             Drafting and research re: opposition to Smart Vent's Motion for Partial Summary                    MB          3.9
             Judgment; Communication with S. Cole re: same;
06/14/19     Getting good copies of documents listed by plaintiff as trial exhibits, not blurry and with        GEC         3.3
             all pages, and resolving and double-checking other problems;
             Exchanged emails and conferred with Dr. Rice re: issues in motion in limine; Reviewed              SKC         4.3
             and analyzed engineering issues for motions in limine and call with Dr. Rice; Reviewed
             draft response to motion for summary judgment and filed motion to carry same one
             motion cycle in light of call with Magistrate Judge Williams re: same; Reviewed order re-
             setting deadlines and exchanged correspondence re: same; Attention to multiple
             outstanding issues re: trial;
             Drafting and revising response to motion in limine;                                                JEP         6.8
             Create exhibit pdf from tags;                                                                       RS         0.8
             Continued researching case law for introduction of other litigation re drafting response to         SY         6.6
             plaintiff's motion in limine to exclude evidence of other litigation; Drafted opposition to
             plaintiff's motion in limine to preclude the introduction of other litigation;
             Research and drafting opposition to Motion for Summary Judgment; Correspondence                    MB          3.1
             with S. Cole re: same;
06/16/19     Reviewed Robert Wallace's deposition testimony and began outlining response in                     NBM         2.6
             opposition to Smart Vent's motion to preclude expert testimony of Mr. Wallace;
06/17/19     Prepared for call with Magistrate Judge Williams re: untimely motion for summary                   SKC         5.3
             judgment; Call on the record with Magistrate Judge Williams; Continued working to
             identify and resolve issues for responses to motions filed by Smart Vent;; Follow up call
             with counsel for Smart Vent re: adjusting deadlines for motions in limine;
             Response to Motion to Preclude Robert Wallace's Testimony/Opinions - Researched                    NBM         4.4
             issue of whether failure to validate a survey renders the survey design inadequate;
             Research re: equitable recoupment argument for insertion in response to Smart Vent's
             motion for summary judgment;
             Researched case law for hearsay and character evidence re drafting response to                      SY         9.8
             plaintiff's motion in limine to exclude evidence of other litigation; and continued
             researching case law re admitting evidence; Briefly reviewed 4 complaints from Smart
             Vent's other complaints again re drafting response to plaintiff's motion in limine to
             exclude evidence of other litigation; Continued drafting and revising opposition to
             plaintiff's motion in limine to exclude evidence of Smart Vent's other litigation;
06/18/19     Reviewed Order administratively terminating Smart Vent's Motion for Summary                        SKC         2.8
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Date                                                                                                         Atty     Hours
             Judgment; Reviewed Correspondence re: new builder impacted by Smart Vent
             misstatements; Reviewed correspondence and anti trust complaint and exchanged
             correspondence re: same; Reviewed text order approving proposed scheduling of
             motions and exchanged correspondence re: same; Discussed issues pertaining to
             Magistrate Judge Williams order re: motions in limine and for summary judgment;
             Reviewed draft response to motion in limine to preclude evidence of other litigation;
             Reviewed and analyzed minute entry and exchanged correspondence with Smart Vent
             re: need for proposed order in light of same; Call to discuss motion in limine seeking
             dispositive relief;
             Reviewed Smart Vent's Motion for Summary Judgment re: laches on CSD's                          NBM          4.8
             counterclaim and researched various defenses thereto;
             Edited and cite checked opposition to plaintiff's motion in limine to exclude evidence of        SY         0.5
             Smart Vent's other litigation;
             Review of Letter to the Court and Min Entry;                                                     MB         0.2
06/19/19     Reviewed plaintiff's trial exhibits for confidentiality designations and sorted them by type   GEC          2.9
             of designation (Confidential or Attorneys' Eyes Only), to facilitate possible challenges to
             designations;
             Preliminary research re: seeking dispositive relief through a motion in limine; Outlined       SKC          6.0
             response to motion to dismiss counterclaims; Researched and analyzed elements and
             defenses to Laches; Identifying and preparing trial exhibits;
             Gathered Defendants Exhibits;                                                                   AJC         2.5
             Meeting with S. Cole to discuss response to Smart Vent's motion for summary                    NBM          4.7
             judgment;
             Create exh pdfs from tag;                                                                        RS         0.8
             Review of Defendants Exhibits; Collection of same;                                               MB         2.3
06/20/19     Reviewed plaintiff's listed trial exhibits for confidentiality designations and sorted them    GEC          2.6
             by type of designation (Confidential or Attorneys' Eyes Only) and by who produced
             them, in order to consider possible challenges to the designations;
             Briefly reviewed and analyzed letter and declaration re: alleged breach of confidentiality     SKC          3.2
             order filed with court by Smart Vent; Prepared for issues pertaining to anti trust lawsuit;
             Worked to develop arguments in response to Smart Vent's stated intent to re-file motion
             for summary judgment as motion in limine;
             Discussion with S.Cole; reviewed confidentiality order; reviewed email exchange                  SY         1.2
             between counsel regarding the Graham disclosure re whether the disclosure of the
             Graham deposition was a breach;
             Meeting with S. Cole re: FEMA Accepted counter claims; Follow up review of exhibits;             MB         1.2
06/21/19     Worked to analyze and develop strategy in response to Smart Vent's complaint to                SKC          3.4
             Judge Williams regarding alleged violation of Confidentiality Order; Briefly reviewed
             Smart Vent's re-filed motion in limine re: statute of limitations and exchanged
             correspondence re: same;
             Researched case law concerning confidentiality issues focusing on improper                       SY         7.7
             designations, information in the public domain, sanctions, and confidentiality of
             information concerning revenue in concern with plaintiff's complaints of a breach of the
             confidentiality order re Graham deposition transcript; Reviewed CSD's antitrust
             complaint, Smart Vent's letter to the court complaining of a breach of the confidentiality
             order and exhibits thereto, and briefly reviewed Graham's deposition transcript;
06/24/19     Contacted Court re: letter from AJ DiMarino and Crawl Space Doors' response to same            SKC          1.5
             and worked to have same submitted by close of business;
0036031    Crawl Space Door Systems                                                            Invoice Number      734830
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Date                                                                                                      Atty      Hours
             Drafted letter to the court addressing Smart Vent's letter that Crawl Space Doors breach      SY          5.4
             the discovery confidentiality order;
             Correspondence with service center re: defendants trial exhibits; Review of same;             MB          1.1
06/25/19     Reviewed and analyzed rebuttal letter filed by Smart Vent re: confidentiality issue;        SKC           0.4
             Review of letter from Smart Vent counsel re: DCO; Correspondence with S. Cole re:             MB          1.8
             same; Legal research for MIL re: FEMA Accepted Counterclaims;
06/26/19     Collection, review and redaction of Defendant's trial exhibits;                               MB          3.4
06/27/19     Exchanged correspondence re: motion in limine arguments                                     SKC           0.5
             Created PDF using Pagevualt and adobe acrobat from a Website for Morgan Birch;              RCP           0.3


             Preparing defendants trial exhibits; Sorting same for confid; Review of confid order for      MB          7.0
             same; Legal research re: opp to MIL FEMA Accepted counterclaims;
06/28/19     Reviewed deposition transcripts in preparation for trial;                                    JEP          4.0
             Drafting opposition to MIL re: FEMA accepted counterclaims                                    MB          6.1
06/30/19     Legal research and drafting Opp to MIL re: FEMA Accepted misrepresentations;                  MB          1.4

                                                                                           Total Hours              306.4

Attorney Time Summary:
Attorney                                      Hours            Rate                Value
Morgan Birch                                   52.90   at   $295.00      =     15,605.50
Arthur J. Cautilli                              2.50   at   $150.00      =        375.00
Siobhan K. Cole                                75.70   at   $350.00      =     26,495.00
Gretchen E. Cowell                             13.90   at   $145.00      =      2,015.50
Natalie B. Molz                                57.10   at   $275.00      =     15,702.50
Ryan C. Penny                                   0.30   at    $85.00      =         25.50
Justin Proper                                  30.80   at   $350.00      =     10,780.00
Reth Sorn                                       1.60   at    $85.00      =        136.00
Sabina Yevdayeva                               71.60   at   $225.00      =     16,110.00
                                      Current Fees                                                               87,245.00

For Costs Advanced and Expenses Incurred:

             In-house Duplicating Costs                                                 0.80
             In-house Duplicating Costs                                                19.00
             In-house Duplicating Costs                                                 3.20
             In-house Duplicating Costs                                                13.80
             In-house Duplicating Costs                                                 0.40
             In-house Duplicating Costs                                                 0.20
             In-house Duplicating Costs                                                 1.80
                                      Current Expenses                                                               39.20


                                               Total Amount of This Invoice                                      87,284.20

                                               Prior Balance Due                                                 52,406.10


                                               Total Balance Due Upon Receipt                                   139,690.30
1650 Market Street | One Liberty Place, Suite 1800 | Philadelphia, PA 19103-7395                                     TAX I.D. # XX-XXXXXXX
Main 215.864.7000 | Fax 215.864.7123


Crawl Space Door Systems                                                                                  Invoice Number           738254
3700 Shore Drive #101                                                                                     Invoice Date            08/16/19
Virginia Beach, VA 23455                                                                                  Client Number           0036031
                                                                                                          Matter Number             00001

Attn: William G. Sykes

Our File:     0036031.00001                                                                          Handling Attorney: Siobhan K. Cole

Re: Smart Vent Products, Inc. v. Crawl Space Door System, Inc.

For Professional Services Rendered from 05/01/19 through 07/31/19:


Date                                                                                                                       Atty     Hours
07/01/19         Reviewed Order setting conference and exchanged correspondence re same;                                   SKC         0.4
                 Reviewed motion in limine re FEMA Accepted counterclaims filed by plaintiff;                               SY         4.3
                 Researched defenses of economic justification in response to plaintiff's motion in limine
                 re FEMA Accepted counterclaims; Researched equitable recoupment defense in
                 response to Plaintiff's motion in limine for FEMA accepted counterclaims;
                 Legal research and drafting Opp to MIL re: FEMA Accepted misrepresentations;                              MB          2.8
07/02/19         Continued working to develop objections to Smart Vent's motions;                                          SKC         4.0
                 Drafted brief in opposition to Smart Vent's motion to preclude expert report and                          NBM         5.3
                 testimony of Robert Wallace;
                 Preparing trial exhibits;                                                                                 MB          0.7
07/03/19         Prepared for and argued before Judge Williams re Smart Vent's demand for information                      SKC         6.4
                 and an Order regarding the Gram deposition and updated client re same; Drafting
                 Motion in Limine Responses;
                 Drafted response in opposition to Smart Vent's motion to exclude expert testimony of                      NBM         2.7
                 Robert Wallace;
                 Drafting Opp to MIL re: FEMA accepted representations;                                                    MB          0.9
07/04/19         Drafting Opp to MIL re: FEMA Accepted Representations;                                                    MB          2.3
07/08/19         Drafting Responses to Smart Vent's Motions in Limine;                                                     SKC         8.5
                 Continued drafting brief in opposition to Smart Vent's motion in limine to preclude expert                NBM         5.0
                 testimony of Robert Wallace;
                 Edits to Opp to MIL re: FEMA Accepted evidence; Correspondence with S. Cole re:                           MB          1.9
                 same;
07/09/19         Drafted, revised, finalized and filed all responses to Smart Vent Motions in Limine;                      SKC        11.6
                 Revised, finalized, and filed all briefs in opposition to Smart Vent's motions in limine;                 NBM        10.1
                 Legal research and edits to Opposition to MIL; Preparing Opp to MILs for filing;                          MB          2.4
07/10/19         Worked to comply with Judge Simandles request for courtesy copies of Motions in                           SKC         0.2
                 Limine;


                                Delaware | Massachusetts | New Jersey | New York | Pennsylvania | Rhode Island
0036031    Crawl Space Door Systems                                                            Invoice Number     738254
00001      Smart Vent Products, Inc. v. Crawl Space Door System, Inc.                          Invoice Date      08/16/19
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Date                                                                                                      Atty     Hours
             Reviewing Smart Vent's Opposition to CSD's MIL; Preparing courtesy copies of same             MB         1.9
             for the judge; Sending same;
07/12/19     Reviewed and calendared Order re Declaration;                                               SKC          0.1
07/15/19     Drafted and revised Sykes declaration and exchanged correspondence re same with             SKC          2.8
             Mr. Sykes and Mr. Byers; General case management;
07/16/19     Worked to revise, refine and file Sykes Declaration; Continued preparing trial outline;     SKC          4.7
             Exchanged correspondence with DiMarino re Order on Motion to Seal;
07/17/19     Received and analyzed Smart Vent's Motion to Seal; Exchanged correspondence with            SKC          0.4
             Mr. Byers re New Jersey Motions and call to discuss same;
07/18/19     Exchanged correspondence with Mr. Byers and worked to identify (non-confidential)           SKC          4.5
             discovery and exhibits that pertain to anti-trust case; Worked with Ms. Yerdayeva on
             objections to SV confidentiality; Call from Mr. Byers re counterclaim and overlap with
             anti-trust case;
07/19/19     Received and analyzed letter from Jay DiMarino re deposition designations; Received         SKC          0.4
             and analyzed letter from DiMarino re Sykes Declaration;
07/22/19     Exchanged correspondence with Mr. Sykes re Motions in Limine; telephone call with Mr.       SKC          6.0
             Sykes re Smart Vent's claims; Drafting trial themes and outline; Worked to define
             research project re flood events; Reviewed status of AEO project;
             Reviewed Smart Vent's and CSDs Exhibits/doc production labeled as Attorneys' Eyes             SY         6.5
             Only/Confidential for the purpose of identifying improperly designated documents;
07/23/19     Exchanged emails with Mr. Sykes re Smart Vent's continued smear campaign; met with          SKC          6.4
             Mr. Proper to further develop trial strategy; drafted correspondence to Smart Vent's
             counsel re Sykes Declaration and continued trial work;
             Continued reviewing Smart Vent's and CSD's Exhibits/doc production labeled as                 SY         2.7
             Attorneys' Eyes Only/Confidential for the purpose of identifying improperly designated
             documents;
             Litigation strategy meeting with. J. Proper and S. Cole; Review of docket and local rules     MB         2.0
             for Motion to File Under Seal; Correspondence with S. Cole re: same; Legal research
             re: protective orders; Review of confid. agreement for same;
07/24/19     Exchanged correspondence and worked to determine strategy in light of news re Judge         SKC          3.1
             Simandle; Reviewed notices re filing under seal and exchanged correspondence with
             counsel for Smart Vent and Court re same; Continued working to prepare for trial;
             Meeting with lead counsel;                                                                   JEP         1.3
             Continued reviewing Smart Vent's and CSD's Exhibits/doc production labeled as                 SY         5.2
             Attorneys' Eyes Only/Confidential for the purpose of identifying improperly designated
             documents;
             Preparing depositions for depo summaries; Correspondence with paralegal re: same;             MB         0.5
07/25/19     Exchanged emails with Mr. Sykes and Mr. Byers and continued trial preparation in light      SKC          2.5
             of silence from Court;
             Continued reviewing Smart Vent's and CSD's Exhibits/doc production labeled as                 SY         5.2
             Attorneys' Eyes Only/Confidential for the purpose of identifying improperly designated
             documents;
07/26/19     Summarized pages 1 through 18 of the January 29, 2016 deposition transcript of               AJC         2.1
             Thomas S. Little, Jr.;
             Continued reviewing Smart Vent's and CSD's Exhibits/doc production labeled as                 SY         6.9
             Attorneys' Eyes Only/Confidential for the purpose of identifying improperly designated
0036031    Crawl Space Door Systems                                                             Invoice Number      738254
00001      Smart Vent Products, Inc. v. Crawl Space Door System, Inc.                           Invoice Date       08/16/19
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Date                                                                                                       Atty      Hours
             documents;
             Communication with paralegal re: deposition summaries; Review of sample; Providing             MB          0.6
             outline guidance;
07/29/19     Trial prep;                                                                                  SKC           4.6
             Summarized pages 19 through 34 of the January 29, 2016 deposition transcript of               AJC          1.9
             Thomas S. Little, Jr.;
             Continued reviewing Smart Vent's and CSD's Exhibits/doc production labeled as                  SY          6.7
             Attorneys' Eyes Only/Confidential for the purpose of identifying improperly designated
             documents;
07/30/19     Reviewed and analyzed correspondence filed by Smart Vent re Sykes Declaration and            SKC           5.7
             demand for a privilege log and worked to respond to same by reviewing and identifying
             all improperly designated documents produced by Smart Vent; Exchanged
             correspondence re engagement of Mr. Byers and confidentiality;
             Created a separate list of Smart Vent's Exhibits with improper designations re letter          SY          0.4
             objecting to all designations;
             Correspondence with S. Cole re: waiving confid designations for pre-trial; Legal               MB          2.2
             research re: same; Review of correspondence from A. DiMarino;
07/31/19     Reviewed and analyzed Sykes transcript and other documents in order to draft                 SKC           5.0
             confidentiality objections and prepare for trial; Exchanged correspondence with D. Byers
             and B. Sykes re Smart Vent's newest attacks and plans in response thereto;
             Collection of requested documents; Sending same to D. Byers;                                   MB          0.6

                                                                                           Total Hours               162.4

Attorney Time Summary:
Attorney                                     Hours            Rate               Value
Morgan Birch                                  18.80   at   $295.00   =        5,546.00
Arthur J. Cautilli                             4.00   at   $150.00   =          600.00
Siobhan K. Cole                               77.30   at   $350.00   =       27,055.00
Natalie B. Molz                               23.10   at   $275.00   =        6,352.50
Justin Proper                                  1.30   at   $350.00   =          455.00
Sabina Yevdayeva                              37.90   at   $225.00   =        8,527.50
                                     Current Fees                                                                 48,536.00

For Costs Advanced and Expenses Incurred:

             Telephone Calls – Conference Call                                        23.05
             Searches                                                                 28.90
             Travel Expense                                                           15.45
                                     Current Expenses                                                                 67.40


                                              Total Amount of This Invoice                                        48,603.40

                                              Prior Balance Due                                                  129,690.30


                                              Total Balance Due Upon Receipt                                     178,293.70
1650 Market Street | One Liberty Place, Suite 1800 | Philadelphia, PA 19103-7395                                     TAX I.D. # XX-XXXXXXX
Main 215.864.7000 | Fax 215.864.7123


Crawl Space Door Systems                                                                                  Invoice Number           740702
3700 Shore Drive #101                                                                                     Invoice Date            09/18/19
Virginia Beach, VA 23455                                                                                  Client Number           0036031
                                                                                                          Matter Number             00001

Attn: William G. Sykes

Our File:     0036031.00001                                                                          Handling Attorney: Siobhan K. Cole

Re: Smart Vent Products, Inc. v. Crawl Space Door System, Inc.

For Professional Services Rendered from 08/01/19 through 08/31/19:


Date                                                                                                                       Atty     Hours
08/01/19         Exchanged emails and telephone calls with Mr. Sykes re: show cause motion; Call with                      SKC         4.7
                 Mr. Sykes and Mr. Byers; Continued working on discovery and trial prep issues;
08/02/19         Exchanged correspondence with Mr. Byers and worked to provide same with requested                         SKC         0.6
                 discovery;
                 Review of discovery requests; Sending same to anti-trust counsel;                                         MB          1.6
08/05/19         Reviewed order reassigning the case;                                                                      JEP         0.1
                 Locating and sending discovery requests and responses; Reviewing of text order;                           MB          2.1
                 Amending pro hac application; Refiling same;
08/06/19         Drafted and filed letter to Judge Williams addressing SV’s continued demands for                          SKC         6.2
                 information re: the Graham Deposition including a privilege log and CDS’s objections to
                 same; General trial preparation and continued efforts to provide Mr. Byers with all
                 requested information. Reviewed Order reassigning case to Judge Rodriguez and
                 exchanged emails and telephone calls re: same;
                 Locating and sending discovery requests and responses to D. Byers;                                        MB          0.7
08/07/19         Exchanged emails and telephone calls with counsel for SV and the Court re: motions to                     SKC         2.8
                 seal and reviewed and approved letter re: same; reviewed Court Order re: conference;
                 and worked to locate historical discovery requested by Mr. Byers;
                 Summarized pages 35 through 45 of the January 29, 2016 deposition transcript of                           AJC         1.5
                 Thomas S. Little, Jr.;
08/08/19         Exchanged emails with counsel for SV, filed letter with Court, and made phone calls to                    SKC         1.0
                 Court re: scheduled conference and reviewed order granting extension for motion to
                 seal;
                 Summarized pages 46 through 55 of the January 29, 2016 deposition transcript of                           AJC         1.4
                 Thomas S. Little, Jr.;
                 Reviewed order regarding conference;                                                                      JEP         0.1
                 Drafted letter to Magistrate Judge Williams regarding rescheduling of conference due to                   NBM         1.0
                 personal conflicts;
                 Locating discovery responses; Sending same to D. Byers;                                                   MB          0.8


                                Delaware | Massachusetts | New Jersey | New York | Pennsylvania | Rhode Island
0036031    Crawl Space Door Systems                                                            Invoice Number     740702
00001      Smart Vent Products, Inc. v. Crawl Space Door System, Inc.                          Invoice Date      09/18/19
                                                                                                                  Page 2

Date                                                                                                      Atty     Hours
08/09/19     Exchanged emails with Dr. Rice re: trial schedule;                                          SKC          0.1
             Summarized pages 56 through 66 of the January 29, 2016 deposition transcript of              AJC         1.3
             Thomas S. Little, Jr.;
08/12/19     Prepared for and appeared on behalf of Crawl Space Doors at conference before               SKC          5.6
             Magistrate Judge Williams re: Confidentiality and other discovery issues;
             Summarized pages 57 through 76 of the January 29, 2016 deposition transcript of              AJC         7.0
             Thomas S. Little, Jr.; Summarized pages 1 through 66 of the January 29, 2016
             deposition transcript of Michael J. Graham;
             Conference with lead counsel and traveled to and attended pretrial conference;               JEP         3.5
             Revised spreadsheets in preparation for Attorney Cole's hearing regarding                   NBM          1.5
             confidentiality designations;
08/13/19     Telephone Conference with Mr. Sykes, Mr. Proper, and Mr. Byers to discuss conference        SKC          8.8
             with Judge Williams and strategy going forward; Worked with Mr. Proper re: trial
             strategy; Drafted letter to counsel for SV setting forth objections to confidentiality
             designations and other discovery issues; Outlined areas of expert testimony for trial and
             key themes and points for each in advance of meeting with Mr. Byers;
             Summarized pages 67 through 138 of the January 29, 2016 deposition transcript of             AJC         2.0
             Michael J. Graham;
             Phone conference with client and outside counsel for Smart Vent; Meeting with lead           JEP         5.9
             counsel to discuss trial; Trial preparation including reviewing Little transcript for
             purposes of preparing for his examination;
             Drafted/revised spreadsheet with objections to Smart Vent's confidentiality designations;     SY         3.4
08/14/19     Worked on trial proof and law outline; Reviewed and analyzed Reichard video transcript;     SKC          9.0
             Meeting with Mr. Byers to inform same of trial strategy and expert themes; Call with
             counsel for SV to discuss various issues raised at conference with magistrate judge
             Williams including motion to seal and scheduling of trial;
             Summarized pages 139 through 145 of the January 29, 2016 deposition transcript of            AJC         4.0
             Michael J. Graham; Summarized pages 1 through 53 of the January 18, 2016
             deposition transcript of Richard Broad, III, PE Summarized pages 1 through 11 of the
             January 15, 2016 deposition transcript of Harry Ranney;
             Trial preparation including meeting with outside counsel for Smart Vent;                     JEP         7.5
08/15/19     Reviewed correspondence from SV to court requesting transcript of hearing re:               SKC         10.7
             confidentiality and other discovery issues; Completed review of Reichard deposition in
             preparation for trial and meeting with Mr. Byers; Meeting with Mr. Byers to inform same
             of trial strategy and expert themes; Continued working to prepare for trial, including
             review and analysis of SV identified trial exhibits and worked with counsel for SV to
             complete, revise, and file Motion to Seal;
             Summarized pages 12 through 73 of the January 15, 2016 deposition transcript of Harry        AJC         2.0
             Ranney;
             Trial preparation including meeting with outside counsel for Smart Vent;                     JEP         5.0
             Organized trial exhibits and prepared trial binders;                                        NBM          3.0
08/16/19     Reviewed scheduling order re: motion to seal; Reviewed and analyzed Smart Vent              SKC          6.6
             Videos and other documents for use as rebuttal exhibits on cross examination and
             worked to address other evidentiary issues in advance of trial; Received email from
             office of Mr. Byers re: experts and spoke to Mr. Sykes and all experts in order to deal
             with issues pertaining to same;
             Summarized pages 74 through 84 of the January 15, 2016 deposition transcript of Harry        AJC         1.0
0036031    Crawl Space Door Systems                                                              Invoice Number     740702
00001      Smart Vent Products, Inc. v. Crawl Space Door System, Inc.                            Invoice Date      09/18/19
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Date                                                                                                        Atty     Hours
             Ranney;
             Phone conference with client and discussions with lead counsel regarding strategy;             JEP         2.5
             Prepare for trial including reviewing Smart Vent's website;
             Organized and assembled expert witness binders for use at trial;                              NBM          1.6
             Downloaded YouTube videos for Justin Proper;                                                  RCP          0.4


             Meeting with S. Cole re: trial preparation; Call with Reichart re: trial prep and meeting;      MB         0.4
             Correspondence with paralegal re: deposition summaries;
08/17/19     Drafting supplemental Sykes Declaration and preparing for trial;                              SKC          8.5
             Continued trial preparations - assembled trial binders; motion in limine binders; and         NBM          7.1
             other materials for use at trial and pre-trial proceedings;
08/19/19     Exchanged correspondence and participated in call to Judge Rodriguez’s chambers re:           SKC          7.6
             trial schedule; Worked to revise and file Supplemental Declaration of William Sykes;
             Continued working to resolve multiple issues including motion to seal and prepare for
             trial including correspondence and telephone calls with all experts re: trial timeline;
             Conference call with court regarding scheduling issues;                                        JEP         0.2
             Continued trial prep - assembled trial binders and conducted research regarding               NBM          1.5
             damages claims;
             Reviewed and analyzed previous motions filed by CSD and SV, as well as all Judge                SY         7.8
             Simandle's orders in the case for the purpose of identifying remaining claims in the case
             and identifying standards and case law already established by the judge re drafting trial
             outline;
             Review of exhibit prepared by litigation support; Correspondence with J. Proper re:             MB         0.6
             FEMA response MIL; Sending same;
08/20/19     Worked on multiple trial preparation issues including calls with Mr. Sykes and Mr. Byers      SKC          3.2
             regarding trial strategy and schedule for expert issues moving forward;
             Reviewed amended complaint re drafting trial preparation outline; Researched and                SY         9.7
             analyzed unfair false advertising unfair competition claims re drafting trial preparation
             outline;
             Collection and review of trial exhibits;                                                        MB         4.4
08/21/19     Continued trial preparation;                                                                  SKC          5.2
             Continued researching false advertising claims under the Lanham Act re drafting trial           SY         4.3
             outline; Researched False desingation claims under the Lanham Act re same; drafted
             trial outline
             Review and collection of trial exhibits; Correspondence to counsel for SV re: same;             MB         4.1
             Meeting with S. Cole re: same; Correspondence with R. Penny re: preparing exhibits for
             trial;
08/22/19     Worked to revise and file declaration of William Sykes to include exhibit; Continued          SKC          3.6
             preparing for trial by reviewing previous Simandle opinions and outlining limitations set
             forth in same;
             Summarized pages 1 through 28 of the January 13, 2016 deposition transcript of                 AJC         2.1
             Christopher Loney;
             Researched unfair competition claims under NJ law, common law, trademark                        SY        10.5
             infringement claims re drafting trial outline; continued drafting trial outline;
             Communication with R. Penny re: trial exhibits; Edits to same;                                  MB         0.9
0036031    Crawl Space Door Systems                                                              Invoice Number     740702
00001      Smart Vent Products, Inc. v. Crawl Space Door System, Inc.                            Invoice Date      09/18/19
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Date                                                                                                        Atty     Hours
08/23/19     Continued working to prepare for trial including call to discuss same with Mr. Sykes and      SKC          1.5
             correspondence with counsel for SV re: proposed trial dates;
             Reviewed CSD's first motion in limine and Smart Vent's response thereto in further            NBM          2.5
             preparation for upcoming pre-trial proceedings;
             Created a few placeholders for native Exhibits, Bates Stamped all Exhibits provided and       RCP          4.0
             built case in Trail Director. Assigned trial exhibit numbers tested videos and native
             excels and backed up entire case database onto an external hard-drive;


             Researched case law for CSD's counterclaims re drafting trial outline; continued drafting       SY         7.6
             trial outline;
             Communication with R. Penny re: trial exhibits and bates stamping;                              MB         0.5
08/26/19     Exchanged multiple emails re: status of trial preparation and to-do items going forward;      SKC          0.4
             Prepared for trial including completing outline of examination for Little and began            JEP         3.5
             reviewing trial exhibits;
             Continued review of parties' respective motions in limine in preparation for pre-trial        NBM          6.3
             argument regarding same;
             Communication with R. Penney re: trial exhibits and prep; Edits to same;                        MB         0.9
08/27/19     Reviewed correspondence from Jay DiMarino re: response to CSD objections to SV                SKC          0.2
             confidentiality designations;
             Reviewed trial exhibits;                                                                       JEP         2.5
             Reviewed motion for judgment on the pleadings; motion for injunctive relief;                  NBM          2.1
             Edits to D-3; Correspondence with S. Cole and R. Penny re: same;                                MB         0.6
08/28/19     Exchanged multiple emails with counsel for SV and reviewed reduced confidentiality            SKC          1.0
             designations;
08/29/19     Exchanged emails with Mr. Byers re: trial dates;                                              SKC          0.2
08/30/19     Review of P-032; Locating same; Correspondence with R. Penny re: same;                          MB         0.5

                                                                                             Total Hours              233.0

Attorney Time Summary:
Attorney                                      Hours            Rate              Value
Morgan Birch                                   18.10   at   $295.00   =       5,339.50
Arthur J. Cautilli                             22.30   at   $150.00   =       3,345.00
Siobhan K. Cole                                87.50   at   $350.00   =      30,625.00
Natalie B. Molz                                26.60   at   $275.00   =       7,315.00
Ryan C. Penny                                   4.40   at    $85.00   =         374.00
Justin Proper                                  30.80   at   $350.00   =      10,780.00
Sabina Yevdayeva                               43.30   at   $225.00   =       9,742.50
                                        Current Fees                                                               67,521.00

For Costs Advanced and Expenses Incurred:

             In-house Duplicating Costs                                                44.00
             In-house Duplicating Costs                                                15.00
             In-house Duplicating Costs                                             1,348.80
             Travel Expense                                                            20.85
             In-house Duplicating Costs                                                14.80
0036031   Crawl Space Door Systems                                           Invoice Number      740702
00001     Smart Vent Products, Inc. v. Crawl Space Door System, Inc.         Invoice Date       09/18/19
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                                    Current Expenses                                            1,443.45


                                            Total Amount of This Invoice                       68,964.45

                                            Prior Balance Due                                 168,293.70


                                            Total Balance Due Upon Receipt                    237,258.15
1650 Market Street | One Liberty Place, Suite 1800 | Philadelphia, PA 19103-7395                                     TAX I.D. # XX-XXXXXXX
Main 215.864.7000 | Fax 215.864.7123


Crawl Space Door Systems                                                                                  Invoice Number           741446
3700 Shore Drive #101                                                                                     Invoice Date            10/16/19
Virginia Beach, VA 23455                                                                                  Client Number           0036031
                                                                                                          Matter Number             00001

Attn: William G. Sykes

Our File:     0036031.00001                                                                          Handling Attorney: Siobhan K. Cole

Re: Smart Vent Products, Inc. v. Crawl Space Door System, Inc.

For Professional Services Rendered from 08/01/19 through 09/30/19:


Date                                                                                                                       Atty     Hours
08/31/19         Utilized Page Vault to capture and create searchable PDFs of a website for Natalie                        RCP         0.2
                 Molz;


09/03/19         Exchanged information and drafted correspondence re trial dates and worked to                             SKC         5.0
                 prepare for same;
                 Meeting with S. Cole re: trial exhibits and case status; Communication with S. Cole re:                   MB          0.8
                 letter to the Court re: trial date; Preparing same; Review of correspondence from SV re:
                 trial exhibits; Preparing same;
09/04/19         Trial prep;                                                                                               SKC         7.2
                 Reviewed Plaintiff's letter requesting leave to depose Mr. Sykes regarding actions with                   NBM         2.5
                 respect to AEO materials and began researching in preparation to respond thereto;
09/05/19         Drafted response to 10 page DiMarino letter re confidentiality issues and demand to                       SKC         9.0
                 depose Mr. Sykes; Responded to numerous issues re confidentiality and trial
                 preparation;
                 Summarized pages 29 through 76 of the January 13, 2016 deposition transcript of                           AJC         3.7
                 Christopher Loney;
                 Began drafting response to letter filed by Smart Vent regarding alleged breach of                         NBM         7.9
                 confidentiality order and request to depose Mr. Sykes;
                 Communication with S. Cole re: letter;                                                                    MB          0.1
09/06/19         Pulled documents from Concordance database in order to assist Ms. Morgan;                                 GEC         1.1
                 Revised and filed response to DiMarino letter on confidentiality; Exchanged                               SKC         7.5
                 correspondence objecting to confidentiality of letter; Trial preparation;
                 Prepared and produced supplemental production of documents containing updated                             NBM         2.0
                 financials of CSD; Revised and finalized letter in response to Smart Vent's request to
                 depose Mr. Sykes and prepared same for filing;
                 Communication with S. Cole re: trial date, trial exhibits, and response to confide letter;                MB          1.7
                 Correspondence with counsel for SV re: access to supplemental documents;
                 Downloading same; Preparing materials for pre-trial conference;


                                Delaware | Massachusetts | New Jersey | New York | Pennsylvania | Rhode Island
0036031    Crawl Space Door Systems                                                            Invoice Number     741446
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Date                                                                                                      Atty     Hours
09/08/19     Extensive preparations for all issues to be discussed at pre-trial conference with Judge    SKC         12.0
             Rodriguez and telephone calls and correspondence with Mr. Sykes re attendance and
             confidentiality issues;
             Reviewed parties' motions in limine in preparation to meet with Judge Rodriguez to          NBM          5.9
             discuss pre-trial matters and administration;
09/09/19     Prepared for and represented CSD at pre-trial conference; Call with Mr. Sykes re            SKC          9.8
             conference follow up; Exchanged correspondence with experts; Working on issues
             raised at pre-trial by Judge Rodriguez;
             Prepared for and attended in-chambers meeting with Judge Rodriguez and parties to           NBM          8.9
             discuss motions in limine and pre-trial proceedings;
             Correspondence with N. Molz re: notes from pre-trial conference; Preparing for pre-trial      MB         4.1
             conference; Attending pre-trial hearing; Follow up notes to S. Cole;
09/10/19     Correspondence with experts; Reviewed and analyzed Order setting conference re              SKC          4.0
             confidentiality; Trial and conference prep;
09/11/19     Prepared for and represented CSD at conference with magistrate Judge Williams re            SKC          5.9
             alleged confidentiality breach; Exchanged correspondence re conference with Judge
             Williams; Drafted and filed correspondence to Judge Rodriguez requesting new
             conference date; Trial prep;
             Summarized pages 77 through 91 of the January 13, 2016 deposition transcript of              AJC         1.7
             Christopher Loney;
             Prepared for trial including reviewing historical websites and trial exhibits;               JEP         7.0
             Conference call with court to discuss alleged breach of confidentiality order;              NBM          0.7
09/12/19     Reviewed and analyzed Orders entered by Judge Williams re confidentiality; Trial prep;      SKC          3.3
             Correspondence with SV counsel re: trial exhibits; Preparing same; Sending same;              MB         1.7
             Review of exhibits prepared by service center;
09/13/19     Trial prep;                                                                                 SKC          3.4
             Reviewed and analyzed Graham deposition transcript and prepare cross examination             JEP         6.8
             including reviewing documents needed for cross;
             Collection of trial exhibits; Correspondence with counsel for SV re: same;                    MB         2.2
09/16/19     Analyzing deposition designations; Reviewed materials from Mr. Sykes and exchanged          SKC          2.4
             correspondence re same;
             Prepared Smart Vent’s deposition designations for objections and counter-designations;       AJC         1.8
             Reviewed Smart Vent's deposition designations and began preparing objections                NBM          1.5
             thereto;
             Preparing trial exhibits; Review of SV deposition designations; Preparing same;               MB         2.9
             Correspondence with S. Cole re: trial exhibits;
09/17/19     Worked on numerous trial issues including damages proofs for counterclaims;                 SKC          9.8
             Continued preparing for trial including exhibits, meetings with trial team and conference    JEP         8.5
             call with client;
             Continued working on objections to deposition designations, prepared supplemental           NBM          1.2
             production of documents to be served on plaintiff's counsel;
             Review of correspondence from S. Cole re: Sept 5 letter from A. DiMarino re:                  MB         2.3
             introduction of additional vent for trial; Review of letter for same; Preparing draft
             response for same; Review of correspondence re: SV trial exhibits; Preparing response
             to same; Correspondence with litigation support re: same;
0036031    Crawl Space Door Systems                                                              Invoice Number     741446
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Date                                                                                                        Atty     Hours
09/18/19     Exchanged emails and calls with Mr. Sykes; Correspondence to DiMarino re New Vent              SKC         9.2
             use at trial and related issues; Continued trial prep including responses to designations;
             Prepared for trial with focus on damages experts which included reviewing all expert           JEP         8.8
             and rebuttal damages reports including financial documents;
             Continued preparing CSD's objections to plaintiff's deposition designations in order to        NBM         7.6
             meet tomorrow's deadline;
             Bates Stamped new and replacement Exhibits and imported to Trial Director;                     RCP         0.5


09/19/19     Continued analyzing SV deposition designations and preparing objections to same                SKC         7.0
             together with correspondence to Court re submission and follow up phone calls;
             Prepared objections to Smart Vent's deposition designations;                                   AJC         1.8
             Prepared for trial with focus on reviewing all of our trial exhibits;                          JEP         8.2
             Continued preparation of objections to plaintiff's deposition designations in further          NBM         5.1
             preparation to file same with the Court;
09/20/19     Worked on trial strategy with Mr. Proper; Continued working on legal issues re                 SKC         7.7
             damages; Exchanged emails re SV marketing; Worked to complete and file objections
             to SV deposition designations;
             Continued preparing for trial;                                                                 JEP         7.2
             Research re: admissibility of deposition testimony at trial when party appears live to         NBM         7.1
             testify; trial strategy meeting; began reviewing model jury instructions;
             Captured Web articles and a video and saved in Trial Folder and imported into Trial            RCP         0.4
             Director;


             Correspondence with S. Doner re: trial exhibits; Communication with J. Proper re: SOL;          MB         0.4
             Communication with S. Cole re: trial staffing;
09/22/19     Drafting points for charge and other trial prep;                                               SKC         5.5
09/23/19     Worked on numerous trial preparation issues and items;                                         SKC         5.7
             Review motions regarding preclusion of trademark experts and responses, meeting with           JEP         8.5
             associate relating to argument and prepared for trial focusing on researching plaintiff's
             trademark expert including every old report and testimony;
             Pre-trial prep; research re admissibility issues concerning deposition designations; initial   NBM         7.0
             interest confusion; survey evidence admissibility;
             Met with Attorney Molz to discuss research assignment in preparation for pretrial              TMK         0.3
             conference;
             Review of correspondence from counsel for SV; Preparing response to same;                       MB         0.8
09/24/19     Worked to develop areas of expert direct and cross; Call with Mr. Sykes re likely issues       SKC         9.1
             for next status conference; Reviewed and analyzed correspondence from J. DiMarino re
             new vents and reviewed materials re same to analyze any differences in calculations;
             Continued prep for next status conference;
             Prepared for argument on motions in limine including reviewing every motion and                JEP         8.0
             response and performing additional research as needed;
             Prepared materials for tomorrow's pre-trial conference;                                        NBM         5.0
             Conducted research regarding foundational objections in preparation for pretrial               TMK         3.8
             conference;
0036031    Crawl Space Door Systems                                                                  Invoice Number     741446
00001      Smart Vent Products, Inc. v. Crawl Space Door System, Inc.                                Invoice Date      10/16/19
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Date                                                                                                            Atty     Hours
09/25/19     Prepared for an represented CSD at pre-trial conference; Worked to develop strategy                SKC        10.2
             and respond to all issues raised during pre-trial conference; Continued trial prep;
             Prepared for and attended conference with Judge Rodriguez and strategy discussion for              JEP         8.6
             trial following conference;
             Prepared for and attended pre-trial conference with Judge Rodriguez; Began drafting                NBM        14.1
             pretrial brief and other pretrial filings per Court's order;
             Drove to and appeared for Pre-Trial Dry Run at Camden County Federal Courthouse                    RCP         3.0
             with council, started putting Crawlspace Concordance Database on loaner laptop for
             next weekend building power out. Brought gear home with me for set up Oct 4th;




             Meeting with S. Cole, J. Proper and N. Molz re: hearing; Review of correspondence                   MB         0.6
             from SV counsel re: trial exhibits: Preparing and collecting same;
09/26/19     Reviewed discovery documents for plaintiff's trial exhibits, and prepared pdfs of specific         GEC         0.5
             trial exhibits;
             Reviewed opposition to bifurcation filed by Smart Vent and worked to develop response              SKC         6.4
             to same; Exchanged emails with experts re trial updates; Worked on trial exhibits;
             Worked to prepare list of damages research questions for CSD; Preparing for trial;
             Prepare for trial focusing on Graham; prepared opening for lead counsel and began                  JEP         9.4
             reviewing engineer deposition transcripts to prepare counter designations;
             Continued drafting and revising trial brief and outlining relevant burdens and burden              NBM         6.5
             shifting;
             Review of exhibits prepared by G. Cowell; Correspondence with R. Penny re: trial                    MB         0.5
             exhibits; Review of correspondence from counsel for SV; Preparing exhibit for trial;
09/27/19     Worked to draft and finalize letter to Court in response to DiMarino's opposition to               SKC         8.0
             bifurcation; Drafting Jury Charge; Conference with Mr. Byers re engineering findings;
             Conference with Mr. Proper re trial strategy;
             Conference call with client's outside counsel; Prepared for trial including reviewing all          JEP         9.6
             engineering expert deposition transcripts and prepared counter designations; Revised
             letter opposing bifurcation and reviewed/revised our response;
             Trial brief and strategy;                                                                          NBM         8.9
             Researched laches re drafting jury charge;                                                          SY         1.7
09/28/19     Trial preparation and drafting pre-trial filings;                                                  SKC         7.4
             Continued drafting trial brief; reviewed deposition transcripts in furtherance of same;            NBM         4.2
09/29/19     Drafting Jury Charge and general trial prep;                                                       SKC         5.5
             Continued drafting trial brief and other trial prep;                                               NBM         5.4
09/30/19     Trial Prep with Mr. Sykes and drafting and filing jury instructions, trial brief, voir dire, and   SKC        15.5
             verdict sheet;
             Prepared for trial including working on jury charge, verdict slip and trial brief; meet with       JEP        11.8
             client, website search re latches, etc.;
             Drafted, revised, and finalized all pretrial filings in further preparation for midnight filing    NBM        16.4
             deadline - trial brief; jury instructions; verdict sheet; voir dire;
             Captured a web page and also bates stamped new exhibits and added them to Trial                    RCP         2.6
             Director assigned trial exhibit numbers. Prepared equipment for Siobhan Cole and
             Natalie Molz so they can have all documents available during weekend shut down.
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Date                                                                                                      Atty      Hours
            Connected printer to laptop and tested, also put Crawl Space Concordance Database
            on loaner Laptop for Siobhan Cole;




            Researching laches, researching failure to respond to counterclaims in NJ, assisting          WHF          0.9
            Justin Proper in trial prep;
            Edited and revised CSD's trial brief;                                                          SY          2.6
            Correspondence with litigation support and service vendor re: preparing exhibits for trial;    MB          0.3
            Review of Letter from A. DiMarino and S. Cole re: bifurcation;

                                                                                           Total Hours              441.8

Attorney Time Summary:
Attorney                                    Hours            Rate               Value
Morgan Birch                                 18.40   at   $295.00   =        5,428.00
Arthur J. Cautilli                            9.00   at   $150.00   =        1,350.00
Siobhan K. Cole                             176.50   at   $350.00   =       61,775.00
Gretchen E. Cowell                            1.60   at   $145.00   =          232.00
William H. Fedullo                            0.90   at   $305.00   =          274.50
Tracey M. Kline                               4.10   at   $305.00   =        1,250.50
Natalie B. Molz                             117.90   at   $275.00   =       32,422.50
Ryan C. Penny                                 6.70   at    $85.00   =          569.50
Justin Proper                               102.40   at   $350.00   =       35,840.00
Sabina Yevdayeva                              4.30   at   $225.00   =          967.50
                                     Current Fees                                                               140,109.50

For Costs Advanced and Expenses Incurred:

            In-house Duplicating Costs                                            4,961.60
            Lunches/dinners                                                         129.70
            Miscellaneous                                                            56.73
            Miscellaneous                                                            35.52
            Travel Expense                                                           35.00
            Travel Expense                                                           35.00
            Travel Expense                                                           13.90
            Travel Expense                                                           15.40
            Travel Expense                                                           12.65
            Travel Expense                                                           35.00
            Travel Expense                                                           12.56
            In-house Duplicating Costs                                              125.60
                                     Current Expenses                                                             5,468.66


                                             Total Amount of This Invoice                                       145,578.16

                                             Prior Balance Due                                                  227,258.15


                                             Total Balance Due Upon Receipt                                     372,836.31
1650 Market Street | One Liberty Place, Suite 1800 | Philadelphia, PA 19103-7395                                     TAX I.D. # XX-XXXXXXX
Main 215.864.7000 | Fax 215.864.7123


Crawl Space Door Systems                                                                                  Invoice Number           745210
3700 Shore Drive #101                                                                                     Invoice Date            11/20/19
Virginia Beach, VA 23455                                                                                  Client Number           0036031
                                                                                                          Matter Number             00001

Attn: William G. Sykes

Our File:     0036031.00001                                                                          Handling Attorney: Siobhan K. Cole

Re: Smart Vent Products, Inc. v. Crawl Space Door System, Inc.

For Professional Services Rendered from 10/01/19 through 10/31/19:


Date                                                                                                                       Atty     Hours
10/01/19         Trial preparation including communications with opposing counsel, Court staff and                         SKC        10.0
                 experts and meeting with Mr. Sykes;
                 Prepared for and participated in conference call with Dr. Rice; Prepared for trial;                       JEP         9.2
                 Reviewed Smart Vent's filings; Reviewed and revised letter regarding laches;
                 Trial prep; including 2 hour conference call with Dr. Rice;                                               NBM         8.8
                 Writing and revising letter to Judge Rodriguez on laches issue;                                        WHF            0.9
                 Correspondence with S. Cole re: preparing experts; Review and preparing trial exhibits;                   MB          0.7
10/02/19         Extensive trial preparation on all matters including counter-designations and decisions                   SKC        14.7
                 on motions;
                 Prepared for trial including going through exhibits again with focus on preparing exhibits                JEP        11.3
                 to use for witness examinations, conferences with lead counsel to discuss strategy, and
                 reviewing court orders and discussing effect;
                 Trial prep;                                                                                               NBM        14.2
                 Created PDFs from websites for Justin Proper;                                                             RCP         1.0


                 Review of Order re: MILs and meeting with trial team re: same; Correspondence with G.                     MB          0.7
                 Reichard re: conference call prep meeting; Review of trial exhibits; Correspondence
                 with SV counsel re: same;
10/03/19         Trial prep including calls with Dr. Rice, Mr. Sykes, and Dr. Reichard;                                    SKC        14.0
                 Prepared for trial;                                                                                       JEP        12.0
                 Trial prep; conference call with Mr. Sykes and Mr. Qualtieri; modification of CSD's                       NBM        11.4
                 counter designations of deposition transcripts in light of Court's ruling;
                 Building searchable Text for 2200 + docs where Text was not provided; Printing                             RS         2.5
                 concordance tag to pdfs for trial prep;
                 Drove to Courthouse set up all equipment, tested, drove home;                                             RCP         5.5
                 received new and replacement exhibits to bates stamp and put in designated folders
                 along with updating Trial Director database. Assigned Trial exhibit numbers and backed


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Date                                                                                                        Atty     Hours
             up;


             Looked up federal rules of evidence for under what circumstances an agent's statement         WHF          0.1
             is attributable to an opposing party;
             Correspondence with lit support re: Concordance database; Preparing supplemental                MB         2.3
             trial exhibits; Correspondence with lit support re: same; Call with lit support re: same;
10/04/19     Trial prep on all issues;                                                                     SKC         12.0
             Prepared for trial;                                                                            JEP        10.0
             Trial prep; including 2 hour call with Dr. Reichard, deposition designations, exhibit prep;   NBM         12.3
             drafted jury instructions and trial brief;
             Generating OCR text from Images, loading into concordance; Configure loaner laptop              RS         3.0
             with concordance crawl space for trial use without the network;
             Worked at home Bates Stamping replaced trial Exhibits. Created new Exhibits sent all to       RCP          2.0
             council with Bates numbering Imported into Trial Director and assigned Exhibit
             numbers;
             Preparing for trial; Call with G. Reichard re: trial prep;                                      MB         4.3
10/05/19     Trial prep;                                                                                   SKC         13.0
             Trial prep; gathered and prepared documents to be used for impeachment at trial;              NBM         13.2
             Worked at home Bates Stamping and replacing trial Exhibits. Downloaded and                    RCP          4.2
             converted Deposition Videos and sent back to council to view. Created new Exhibits
             sent all to council with Bates numbering Imported into Trial Director and assigned
             Exhibit numbers;
             Preparing for trial;                                                                            MB         4.4
10/06/19     Trial prep;                                                                                   SKC         14.2
             Prepared for trial;                                                                            JEP         7.5
             Trial prep; continued work on impeachment documents and trial brief/jury                      NBM         11.8
             instructions/voir dire;
             Worked at home Bates Stamping and replacing trial Exhibits. Downloaded and                    RCP         11.5
             converted Deposition Videos and sent back to council to view. Worked on opening
             demonstrative through PowerPoint and Trial Director. Created new Exhibits sent all to
             council with Bates numbering Imported into Trial Director and assigned Exhibit
             numbers. Backed up entire case database on an external harddrive;


             Preparing for trial;                                                                            MB         2.1
10/07/19     Trial; Post-trial prep;                                                                       SKC         17.0
             Attended trial and prepared for next day including reviewing Graham trial testimony and        JEP        16.5
             Little cross;
             Trial - prepared for and attended trial;                                                      NBM         15.5
             Backed up entire case database from edits during trial, bates stamped daily transcript        RCP         14.0
             sent to all council added to Trial Director and assigned exhibit numbers; Drove to
             courthouse and Presented exhibits utilizing Trial Director, printed documents during
             Trial, Drove home;
             Drove to Courthouse early to test equipment, worked through lunch on exhibits and
             printing, drove home. Worked at home creating new exhibits and bates stamping
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Date                                                                                                      Atty     Hours
             assigning trial exhibit numbers updated all folders and Trial Director;




             Providing discovery materials for trial prep;                                                 MB         0.3
10/08/19     Trial; Post-trial prep;                                                                      SKC        17.0
             Attended trial and prepared for next day including reviewing Little's direct testimony and   JEP        15.0
             industry standards;
             Trial - prepared for and attended trial;                                                     NBM        16.1
             Search locate MP4 and M4v vidoes copy to P and make exhibits for prinitng for tiral;          RS         1.5
             Drove to courthouse and Presented exhibits utilizing Trial Director, printed documents       RCP        13.6
             during Trial, Drove home; Worked at home before driving into court creating new
             exhibits bates stamping assigning exhibit number in Trial Director and sent all revisions
             to council printed out everything when got to Courthouse. VPNed into siobhan coles
             laptop and searched for videos and received daily transcript to bates stamp and send
             back. Backed up entire case database;


10/09/19     Trial; Post-trial prep;                                                                      SKC        20.0
             Prepared for Little and reviewed new documents and video prior to trial as well as           JEP        16.0
             attended trial and prepared for next day;
             Trial - prepared for and attended trial;                                                     NBM        12.2
             Search for powerpoint crawl space and make pdfs;                                              RS         0.8
             Drove to courthouse and Presented exhibits utilizing Trial Director, printed documents       RCP        13.8
             during Trial, Drove home; Drove to courthouse and back. Worked at home Bates
             Stamping replaced trial Exhibits. Created new Exhibits sent all to council with Bates
             numbering Imported into Trial Director and assigned Exhibit numbers;
10/10/19     Trial;                                                                                       SKC        10.7
             Attended trial and discussed strategy as well as drafted motion to conform pleadings to      JEP        11.5
             the proof to add punitive damage claim;
             Trial - prepared for and attended trial;                                                     NBM        15.0
             Drove to courthouse and Presented exhibits utilizing Trial Director, printed documents       RCP        10.6
             during Trial, Drove home; Drove to courthouse and back. Worked at home Bates
             Stamping Daily and sent back to council updated Trial Director and Backed up case for
             weekend;


10/11/19     Worked on numerous trial issues including correspondence and coordination of all             SKC         5.4
             experts;
             Researched issues and drafted motion to conform pleadings to the proof to add punitive       JEP         9.9
             damages; Researched and outline motion for sanctions; Conferences with lead counsel
             and team regarding motions and strategy; Reviewed initial and supplemental
             disclosures;
             Trial prep;                                                                                  NBM         1.2
             Research for motion to conform pleadings and rule 37 motion;                                 WHF         4.0
10/12/19     Trial prep;                                                                                  SKC         4.0
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Date                                                                                                        Atty     Hours
             Conference call with Mr. Fiddler regarding sanctions motion and strategy; Conference           JEP         2.8
             call with lead counsel and meet and confer with opposing counsel; Reviewed Graham
             and Little deposition testimony for discovery violations;
             Trial prep - including drafting motion to conform the pleadings to the evidence, motion       NBM          4.6
             for sanctions as a result of discovery misconduct;
             Working on Rule 37 motion and motion to conform;                                              WHF          0.9
10/13/19     Trial prep;                                                                                   SKC          7.5
             Reviewed trial transcripts and drafted motion for sanctions and motion to conform the         NBM          7.7
             pleadings to the evidence adduced at trial;
             Working on Rule 37 motion and motion to conform; Researching under what                       WHF          2.0
             circumstances a punitive damage claim can be added at trial in federal court;
10/14/19     Trial prep including direct of Mr. Sykes; cross of Crago and Miker; call with Reichard        SKC         16.0
             and various other issues;
             Drafted motion for sanctions and additional research; Revised motion to conform                JEP        14.3
             pleadings to the proof; Reviewed Crago and prepared outline for cross to assist lead
             counsel; Trial strategy meetings; Reviewed stipulation re dismissal;
             Trial prep - reviewed trial transcripts, drafted motion to conform the pleadings to the       NBM         12.5
             evidence at trial; drafted letter to Judge Rodriguez regarding exclusion of John Miller's
             third expert report at trial; filed same;
             Searched external harddrive for a native email and created PDF from metadata for              RCP          1.0
             siobhan Cole;


             Editing sanctions motion, writing discovery affidavit pursuant to local rules, putting        WHF          2.9
             together exhibits, and writing proposed order;
10/15/19     Trial; Post-trial prep;                                                                       SKC         17.0
             Attended trial and prepared for Miller cross examination;                                      JEP        13.0
             Trial - prepared for and attended trial;                                                      NBM         14.0
             Worked from home before court creating new exhibits. Worked in courtroom late giving          RCP         12.5
             exhibits to court reporters. Drove home and worked with tony Novoa and tested zoom
             for a witness. Received daily bates stamped and sent to all council and updated in trial
             Director received new email to create PDF bates stamp send to council and updated all
             folders and TD received new exhibits to bates and update all folders and TD from
             council backed up entire case database on external also created an exhibit list of
             published exhibits for the court. Did a dry run and tested with dr Reinhard using zoom.
             Received demonstrative to bates stamp and updated all folders and TD ;


             Left Tom Merrill at Rutgers a message regarding our intent to subpoena him;                   WHF          0.1
10/16/19     Trial; Post-trial prep;                                                                       SKC         16.5
             Continued preparing for cross of Miller including reviewing trial testimony; Travel to and     JEP        14.8
             attend trial; Prepared for next day including confirming transcripts being read in and
             assisting lead counsel with direct of expert witnesses and trial strategy;
             Trial - prepared for and attended trial;                                                      NBM         13.9
             Received emails to create new exhibits bates stamp update everything etc drove in to          RCP         11.6
             CH. Presented all day During Trial. worked through lunch printing from transcripts. Drive
             home daily transcripts. Updated all folders on P drive and trial director.
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Date                                                                                                        Atty     Hours
10/17/19     Trial;                                                                                        SKC         10.0
             Traveled to and attended trial and discussed strategy; Researched standard for                 JEP        12.3
             precluding evidence a party intends to use at trial but was never produced in discovery;
             Draft letter to Judge Rodriguez regarding sanctions motion; Drat preliminary statement
             in opposition to bench brief; E-mailed opposing counsel regarding discovery
             misconduct;
             Trial - prepared for and attended trial; drafted and revised letter to the Court regarding    NBM         12.3
             exclusion of Smart Vent's rebuttal witnesses;
             Drove in to courthouse, presented exhibits printed documents etc. drive home;                 RCP         10.0


             Researching and drafting Rule 37 motion to exclude evidence;                                  WHF          5.3
10/18/19     Drafting Motion to Compel; Continued working to complete and file Motion to Compel            SKC         11.0
             and for sanctions and other trial prep;
             Reviewed and analyzed recently produced videos and pictures and discussed strategy;            JEP        10.6
             Drafted and researched motion to compel; Phone conference with court regarding
             motion to compel; Reviewed and marked up plaintiff's proposed charge; Drafted motion
             for judgment on the pleadings; Prepared outline for closing argument to assist lead
             counsel; E-mailed opposing counsel regarding documents;
             Drafted and revised motion to compel seeking emergency relief in the form of a Rule 45        NBM          5.8
             subpoena served on Mr. Coulbourne;
             Copied new videos to local drive. Converted for Trial Director made screen grabs bates        RCP          3.0
             stamped and renamed photos and videos. Updated all folders on the P drive for council.
             Backed up entire case database onto an external hard drive;


10/19/19     Exchanged emails re various issues and began working on closing argument;                     SKC          1.5
             Updated outline for closing argument;                                                          JEP         1.5
10/20/19     Trial prep including closing statement and motion for judgment as a matter of law;            SKC         12.0
             Reviewed Smart Vent memo to allow videos; Discussed response with trial team;                  JEP         3.6
             Drafted preliminary statement; Conference call with Dr. Reichard; Reviewed research by
             associates;
             Drafted response in opposition to plaintiff's motion to admit evidence and for a curative     NBM         14.5
             jury instruction;
             Worked from hoe on screen grabs of video metadata for Siobhan Cole and emailed her            RCP          0.5
             the PDFS;


             Reading cases that Smart Vent cited in its opposition brief, distinguishing them from the     WHF          3.9
             facts in our case; Drafting section of response to motion;
10/21/19     Trial; Post-trial prep;                                                                       SKC         17.2
             Attended court; Reviewed trial transcripts to help with closing argument; Researched           JEP        15.1
             disgorgement of profits; Discussed strategy for closing; Reviewed and commented on
             Smart Vent's revised verdict slip; Reviewed and commented on our verdict slip and
             prepared additional questions;
             Trial prep - drafted and fled response in opposition to Smart Vent's cross-motion to          NBM         16.2
             admit evidence and for a curative jury instruction; motion for judgment as a matter of
             law;
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Date                                                                                                     Atty     Hours
             Drove into court early to connect and test. Presented exhibits during trial, worked        RCP         16.5
             through lunch on exhibits and printing. Gave court reporters daily exhibits on thumb
             drive, drove home and worked from home on new exhibits and daily transcripts bates
             stamping importing to Trial Director assigned trial exhibits numbers etc. Backed up
             entire case database and updated all folders on the P drive;
10/22/19     Trial;                                                                                     SKC         10.4
             Prepared for and attended court;                                                            JEP        10.0
             Trial prep and trial;                                                                      NBM         11.6
             Drove into court early to connect and test. Presented exhibits during trial, worked on     RCP          9.8
             exhibits and printing. Gave court reporters daily exhibits on thumb drive, drove home
             and worked from home on new exhibits and daily transcripts bates stamping importing
             to Trial Director assigned trial exhibits numbers etc. Backed up entire case database
             and updated all folders on the P drive;
10/23/19     Worked to close liability phase and start damages phase;                                   SKC          6.5
             Prepared for damages portion of the trial, both our damages and dealing with their          JEP        13.0
             claim; Researched disgorgement and remedies including right to jury trial and Rule 39;
             Reviewed their damages charge and discussed internally;
             Trial prep;                                                                                NBM          2.1
10/24/19     Trial;                                                                                     SKC          8.0
             Attended trial and get verdict and continue working on damages case;                        JEP        12.8
             Trial - prepared for and attended trial;                                                   NBM         10.0
             Drove into court early to connect and test. Presented exhibits during trial, worked on     RCP         10.0
             exhibits and printing. Gave court reporters daily exhibits on thumb drive, drove home
             and worked from home on new exhibits and daily transcripts bates stamping importing
             to Trial Director assigned trial exhibits numbers etc. Backed up entire case database
             and updated all folders on the P drive.
10/25/19     Working on damages phase and other issues including numerous calls with Jay                SKC          4.8
             DiMarino;
             Prepared for damages including putting together models and performing analysis;             JEP        11.2
             conference calls with client and expert and discussions internally and with client
             regarding settlement;
             Worked with Justin Proper on demonstratives for the damages portion of the trial;          RCP          6.0
10/26/19     Exchanged calls and emails with Mr. Sykes and worked on damages calculations;              SKC          1.5
             Worked at home on demonstrative Drafts for Justin and sent back;                           RCP          2.4


10/27/19     Worked on damages and settlement discussions with DiMarino;                                SKC          4.0
             Prepared for damages trial including demonstratives and discussions with expert;            JEP         5.8
             Worked at home all day building demonstratives and received new exhibits to bates          RCP         10.0
             stamp and have ready for court, emailed all council and experts also imported to Trial
             Director assigned trial exhibit numbers and backed up entire case database onto
             external hard drive and secondary laptop;


10/28/19     Trial; Post-trial prep drafting Motion re disgorgement and response in opposition to       SKC         18.0
             judgment as a matter of law;
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Date                                                                                                     Atty      Hours
             Prepared for and attended court and prepared for next day including cross argument,         JEP         16.4
             revised damages issues, reviewing and preparing for latest damages report and
             researching issues relating to disgorgement and reviewing brief;
             Trial (Day 1 of Damages); drafted brief in response to Smart Vent's Motion for Judgment    NBM          17.6
             as a Matter of Law and in response to arguments made on the record regarding CSD's
             potential inability to submit disgorgement remedy to the jury;
             Drove into court early to connect and test. Presented exhibits during trial, worked on     RCP          11.0
             exhibits and printing. Gave court reporters daily exhibits on thumb drive, drove home
             and worked from home on new exhibits and daily transcripts bates stamping importing
             to Trial Director assigned trial exhibits numbers etc. Backed up entire case database
             and updated all folders on the P drive;
10/29/19     Trial;                                                                                     SKC          11.0
             Attended court;                                                                             JEP          9.5
             Trial (Day 2 of Damages) - prepared for and attended trial;                                NBM          10.6
             Drove into court early to connect and test. Presented exhibits during trial, worked on     RCP          12.5
             exhibits and printing. Gave court reporters daily exhibits on thumb drive, drove home
             and worked from home on new exhibits and daily transcripts bates stamping importing
             to Trial Director assigned trial exhibits numbers etc. Backed up entire case database
             and updated all folders on the P drive;
             Providing support to trial team;                                                           WHF           0.2
10/30/19     Post-trial;                                                                                SKC           0.5
             Drove to courthouse to break down gear and had to wait for them to have room ready         RCP           4.0
             for me to pack up and drove back home;


10/31/19     Exchanged emails and worked to determine necessary motions for 11/8 filing deadline;       SKC           1.5
             Reviewed Court's orders and researched deadlines for post-trial filings;                   NBM           0.4
             Researching options for post trial relief;                                                 WHF           1.0

                                                                                          Total Hours             1138.9

Attorney Time Summary:
Attorney                                        Hours             Rate            Value
Morgan Birch                                     14.80    at   $295.00   =     4,366.00
Siobhan K. Cole                                 326.90    at   $350.00   =   114,415.00
William H. Fedullo                               21.30    at   $305.00   =     6,496.50
Natalie B. Molz                                 285.50    at   $275.00   =    78,512.50
Ryan C. Penny                                   197.00    at    $85.00   =    16,745.00
Justin Proper                                   285.60    at   $350.00   =    99,960.00
Reth Sorn                                         7.80    at    $85.00   =       663.00
                                       Current Fees                                                            321,158.00

For Costs Advanced and Expenses Incurred:

             In-house Duplicating Costs                                            2,461.00
             Travel Expense                                                           10.00
             In-house Duplicating Costs                                               32.20
             Color Copying                                                            60.00
             In-house Duplicating Costs                                              237.80
             Searches                                                                  2.30
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            Off Site Duplicating                                               223.08
            In-house Duplicating Costs                                         241.60
            Travel Expense                                                      15.35
            Travel Expense                                                       9.30
            Travel Expense                                                      10.00
            Travel Expense                                                      19.18
            Color Copying                                                       84.00
            Travel Expense                                                     187.92
            Overtime                                                         1,599.00
            Overtime – Sorn, R                                                 236.53
                                    Current Expenses                                                       5,429.26


                                            Total Amount of This Invoice                                 326,587.26

                                            Prior Balance Due                                            362,836.31


                                            Total Balance Due Upon Receipt                               689,423.57
1650 Market Street | One Liberty Place, Suite 1800 | Philadelphia, PA 19103-7395                                        TAX I.D. # XX-XXXXXXX
Main 215.864.7000 | Fax 215.864.7123


Crawl Space Door Systems                                                                                  Invoice Number            747123
3700 Shore Drive #101                                                                                     Invoice Date             12/16/19
Virginia Beach, VA 23455                                                                                  Client Number            0036031
                                                                                                          Matter Number              00001

Attn: William G. Sykes

Our File:     0036031.00001                                                                          Handling Attorney: Siobhan K. Cole

Re: Smart Vent Products, Inc. v. Crawl Space Door System, Inc.

For Professional Services Rendered from 09/01/19 through 11/30/19:


Date                                                                                                                        Atty     Hours
11/01/19         Received and reviewed docket and pertinent Court rulings in order to assess the                           EMK           0.6
                 necessity and scope of post-trial motions following trial;
                 Worked to devise appellate strategy and exchanged correspondence re same as well as                       SKC           2.0
                 telephone calls with Mr. Sykes;
                 Call with Ms. Cole to discuss post-trial deadlines; correspondence to/from Mr. Koch                       NBM           0.5
                 regarding appellate issues and materials;
11/04/19         Reviewed and analyzed strategy and necessity of post-trial motions following trial;                       EMK           1.3
                 Received and reviewed court notice re transcript; Call from DiMarino re extending                         SKC           3.6
                 deadlines and follow-up conversations with Mr. Sykes and all counsel re same with
                 correspondence to DiMarino; Worked to identify Appellate issues necessary for post-
                 trial motions; Exchanged correspondence re Trexler Report and other issues with Mr.
                 Sykes;
11/05/19         Further reviewed and analyzed necessary Post-Trial Motions following trial; Drafted                       EMK           2.2
                 outline of necessary Post-Trial Motions following trial;
                 Exchanged numerous emails and telephone calls with client, Mr. Byers and Mr.                              SKC           2.5
                 DiMarino re post-trial issues;
11/06/19         Call from Mr. Byers and continued working on post-trial issues;                                           SKC           2.4
11/18/19         Call from Jay DiMarino;                                                                                   SKC           0.1
11/20/19         Received telephone call from counsel for Smart Vent re settlement overtures, drafted                      SKC           1.2
                 correspondence to Mr. Sykes re same and had follow-up call with Mr. Sykes re same;
11/21/19         Received and reviewed correspondence from Mr. Sykes re settlement;                                        SKC           0.1
11/22/19         Exchanged correspondence with Mr. Proper and Mr. DiMarino re settlement                                   SKC           0.2
                 negotiations;
11/25/19         Exchanged emails and telephone calls with Mr. Sykes and emailed Mr. DiMarino to                           SKC           0.6
                 advise re settlement negotiations; Exchanged correspondence with Mr. Byers re post
                 trial motions;
11/26/19         Call from Jay DiMarino and follow up emails with all counsel;                                             SKC           0.2

                                                                                                          Total Hours                   17.5

                                Delaware | Massachusetts | New Jersey | New York | Pennsylvania | Rhode Island
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Attorney Time Summary:
Attorney                                    Hours           Rate               Value
Siobhan K. Cole                              12.90 at    $350.00 =          4,515.00
Edward Koch                                   4.10 at    $350.00 =          1,435.00
Natalie B. Molz                               0.50 at    $275.00 =            137.50
                                     Current Fees                                                             6,087.50

For Costs Advanced and Expenses Incurred:

            In-house Duplicating Costs                                            115.80
            Messenger/delivery (Delivery of Videos to Judge Rodriguez)             52.50
            Overtime                                                              219.64
            Travel Expense                                                      1,070.72
                                     Current Expenses                                                         1,458.66


                                             Total Amount of This Invoice                                     7,546.16

                                             Prior Balance Due                                              689,423.57


                                             Total Balance Due Upon Receipt                                 696,969.73
1650 Market Street | One Liberty Place, Suite 1800 | Philadelphia, PA 19103-7395                                     TAX I.D. # XX-XXXXXXX
Main 215.864.7000 | Fax 215.864.7123


Crawl Space Door Systems                                                                                  Invoice Number           750379
3700 Shore Drive #101                                                                                     Invoice Date            12/31/19
Virginia Beach, VA 23455                                                                                  Client Number           0036031
                                                                                                          Matter Number             00001

Attn: William G. Sykes

Our File:     0036031.00001                                                                          Handling Attorney: Siobhan K. Cole

Re: Smart Vent Products, Inc. v. Crawl Space Door System, Inc.

For Professional Services Rendered from 12/01/19 through 12/31/19:


Date                                                                                                                       Atty     Hours
12/02/19         Post-trial motion for sanctions;                                                                          NBM         0.5
12/03/19         Call with Mr. Byers re post trial motions; Drafting sanctions motion and other post-trial                 SKC         1.4
                 issues;
12/04/19         Exchanged correspondence with Mr. Byers re post trial motions; Continued working on                       SKC         2.3
                 post trial matters;
12/05/19         Reviewed, finalized and filed motion for sanctions; Revised, finalized and filed motion                   SKC         7.0
                 for new trial;
                 Revised and finalized CSD's post trial motion for sanctions; revised draft omnibus                        NBM        10.6
                 motion for other post-trial relief; prepared and filed all motions;
12/06/19         Exchanged correspondence re Smart Vent post trial motions; Reviewed and analyzed                          SKC         0.3
                 Court notices re post trial motions;
12/09/19         Call with Mr. Sykes re responses to post trial motions filed by Smart Vent;                               SKC         0.2
                 Reviewed post-trial motions in preparation to respond;                                                    NBM         0.6
12/10/19         Reviewed and analyzed Smart Vent's post trial motions;                                                    SKC         2.2
                 Reviewed Smart Vent's post trial motions and began outlining responses thereto;                           NBM         4.4
12/11/19         Continued working to review and respond to Smart Vent post trial motions including                        SKC         6.0
                 drafting email to DiMarino re erroneous timing of responses;
                 Response in opposition to Smart Vent's post-trial motion for a permanent injunction;                      NBM         6.8
12/12/19         Exchanged emails and calls with DiMarino re post trial motions; Drafted and filed letter                  SKC         4.9
                 to Judge Rodriguez re post trial motions; Exchanged emails with Mr. Byers; Continued
                 working on post trial responses;
                 Began drafting response to Smart Vent's post-trial request for a permanent injunction;                    NBM         1.4
12/13/19         Continued working on responses to post trial motions;                                                     SKC         4.0
                 Continued briefing response to Smart Vent's injunction motion;                                            NBM         1.1
12/17/19         Continued working on post trial motions;                                                                  SKC         3.0
                 Drafted response to Smart Vent's post-trial motion for a permanent injunction;                            NBM         5.3


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Date                                                                                                    Atty      Hours
             Response to JMOL re: damages phase of trial;
12/30/19     Continued drafting response in opposition to Smart Vent's post-trial motion for judgment   NBM          3.7
             as a matter of law with respect to the damages phase of trial;
12/31/19     Drafted and revised response to Smart Vent's JMOL motion seeking to limit CSD's            NBM          2.8
             damages to nothing;

                                                                                         Total Hours                68.5

Attorney Time Summary:
Attorney                                    Hours           Rate                Value
Siobhan K. Cole                              31.30 at    $350.00 =          10,955.00
Natalie B. Molz                              37.20 at    $275.00 =          10,230.00
                                     Current Fees                                                              21,185.00


                                             Total Amount of This Invoice                                      21,185.00

                                             Prior Balance Due                                                686,969.73


                                             Total Balance Due Upon Receipt                                   708,154.73
1650 Market Street | One Liberty Place, Suite 1800 | Philadelphia, PA 19103-7395                                        TAX I.D. # XX-XXXXXXX
Main 215.864.7000 | Fax 215.864.7123


Crawl Space Door Systems                                                                                  Invoice Number            752151
3700 Shore Drive #101                                                                                     Invoice Date             02/18/20
Virginia Beach, VA 23455                                                                                  Client Number            0036031
                                                                                                          Matter Number              00001

Attn: William G. Sykes

Our File:     0036031.00001                                                                          Handling Attorney: Siobhan K. Cole

Re: Smart Vent Products, Inc. v. Crawl Space Door System, Inc.

For Professional Services Rendered from 01/01/20 through 01/31/20:


Date                                                                                                                        Atty     Hours
01/02/20         Drafted response in opposition to Smart Vent's post-trial motion for judgment as a                        NBM           6.2
                 matter of law as to the damages phase of trial;
01/03/20         Worked to complete responses to SV post-trial motions;                                                    SKC           1.5
01/03/20         Drafted and revised response in opposition to Smart Vent's motion for judgment as a                       NBM           7.3
                 matter of law with respect to the liability phase of trial;
01/04/20         Began drafting response in opposition to Smart Vent's post-trial motion for a permanent                   NBM           5.3
                 injunction;
01/05/20         Worked to revise and complete responses to SV post-trial motions;                                         SKC           3.0
01/05/20         Revised opposition to Smart Vent's post-trial motion for a permanent injunction;                          NBM           4.1
01/06/20         Drafting and revising CSD's responses to SV post-trial motions; Finalized and filed post-                 SKC           4.9
                 trial responses;
01/06/20         Revised and finalized all three response briefs in opposition to Smart Vent's post-trial                  NBM           9.5
                 motions and prepared same for filing;
01/07/20         Reviewed Smart Vent's response in opposition to CSD's motion for sanctions and                            NBM           0.9
                 motion for a new trial on damages;
01/14/20         Reviewed Smart Vent's response in opposition to CSD's motion for a new trial on                           NBM           2.9
                 damages and began outlining response thereto;
01/15/20         Call from Duncan Byers;                                                                                   SKC           0.4
01/20/20         Drafted reply brief in response to Smart Vent's opposition to CSD's motion for a new                      NBM           4.9
                 trial on damages;
01/21/20         Worked to analyze and revise arguments in response/reply to Motion for Sanctions;                         SKC           1.2
01/21/20         Drafted reply brief in response to Smart Vent's opposition to CSD's motion for sanctions;                 NBM           5.4
01/22/20         Drafted and revised reply briefs;                                                                         NBM           3.2
01/27/20         Analyzed Reply Briefs;                                                                                    SKC           3.0

                                                                                                          Total Hours                   63.7



                                Delaware | Massachusetts | New Jersey | New York | Pennsylvania | Rhode Island
0036031   Crawl Space Door Systems                                                     Invoice Number      752151
00001     Smart Vent Products, Inc. v. Crawl Space Door System, Inc.                   Invoice Date       02/18/20
                                                                                                           Page 2

Attorney Time Summary:
Attorney                                   Hours          Rate                 Value
Siobhan K. Cole                             14.00 at   $350.00 =            4,900.00
Natalie B. Molz                             49.70 at   $275.00 =           13,667.50
                                    Current Fees                                                         18,567.50


                                            Total Amount of This Invoice                                 18,567.50

                                            Prior Balance Due                                           698,154.73


                                            Total Balance Due Upon Receipt                              716,722.23
1650 Market Street | One Liberty Place, Suite 1800 | Philadelphia, PA 19103-7395                                        TAX I.D. # XX-XXXXXXX
Main 215.864.7000 | Fax 215.864.7123


Crawl Space Door Systems                                                                                  Invoice Number            760840
3700 Shore Drive #101                                                                                     Invoice Date             06/16/20
Virginia Beach, VA 23455                                                                                  Client Number            0036031
                                                                                                          Matter Number              00001

Attn: William G. Sykes

Our File:     0036031.00001                                                                          Handling Attorney: Siobhan K. Cole

Re: Smart Vent Products, Inc. v. Crawl Space Door System, Inc.

For Professional Services Rendered from 05/01/20 through 05/31/20:


Date                                                                                                                        Atty     Hours
05/05/20         Compressed trial exhibits and prepared same to be sent to Duncan per client's request;                    NBM           0.6
05/07/20         Exchanged correspondence with Mr. Sykes and Mr. Byers re: exchange of information;                        SKC           0.3
05/08/20         Worked to identify and send necessary documents and exchanged correspondence re:                          SKC           1.0
                 same;
05/08/20         Reviewed trial exhibits and extracted all confidential/attorneys' eyes only exhibits;                     NBM           1.8

                                                                                                          Total Hours                    3.7

Attorney Time Summary:
Attorney                                               Hours             Rate                Value
Siobhan K. Cole                                         1.30 at       $350.00 =             455.00
Natalie B. Molz                                         2.40 at       $275.00 =             660.00
                                              Current Fees                                                                         1,115.00


                                                        Total Amount of This Invoice                                               1,115.00

                                                        Prior Balance Due                                                       701,722.23


                                                        Total Balance Due Upon Receipt                                          702,837.23




                                Delaware | Massachusetts | New Jersey | New York | Pennsylvania | Rhode Island
1650 Market Street | One Liberty Place, Suite 1800 | Philadelphia, PA 19103-7395                                        TAX I.D. # XX-XXXXXXX
Main 215.864.7000 | Fax 215.864.7123


Crawl Space Door Systems                                                                                  Invoice Number            763438
3700 Shore Drive #101                                                                                     Invoice Date             07/15/20
Virginia Beach, VA 23455                                                                                  Client Number            0036031
                                                                                                          Matter Number              00001

Attn: William G. Sykes

Our File:     0036031.00001                                                                          Handling Attorney: Siobhan K. Cole

Re: Smart Vent Products, Inc. v. Crawl Space Door System, Inc.

For Professional Services Rendered from 06/01/20 through 06/30/20:


Date                                                                                                                        Atty     Hours
06/25/20         Provided Requested Status Update to Third Circuit;                                                        SKC           0.2

                                                                                                          Total Hours                    0.2

Attorney Time Summary:
Attorney                                               Hours             Rate                Value
Siobhan K. Cole                                         0.20 at       $350.00 =              70.00
                                              Current Fees                                                                             70.00


                                                        Total Amount of This Invoice                                                   70.00

                                                        Prior Balance Due                                                       697,837.23


                                                        Total Balance Due Upon Receipt                                          697,907.23




                                Delaware | Massachusetts | New Jersey | New York | Pennsylvania | Rhode Island
1650 Market Street | One Liberty Place, Suite 1800 | Philadelphia, PA 19103-7395                                        TAX I.D. # XX-XXXXXXX
Main 215.864.7000 | Fax 215.864.7123


Crawl Space Door Systems                                                                                  Invoice Number            766353
3700 Shore Drive #101                                                                                     Invoice Date             08/18/20
Virginia Beach, VA 23455                                                                                  Client Number            0036031
                                                                                                          Matter Number              00001

Attn: William G. Sykes

Our File:     0036031.00001                                                                          Handling Attorney: Siobhan K. Cole

Re: Smart Vent Products, Inc. v. Crawl Space Door System, Inc.

For Professional Services Rendered from 07/01/20 through 07/31/20:


Date                                                                                                                        Atty     Hours
07/20/20         Exchanged information requested by Mr. Byers;                                                             SKC           0.2
07/30/20         Exchanged emails and telephone calls with Court, client, and Mr. Byers re: necessary                      SKC           1.3
                 information requested by Court and Mr. Byers;
07/31/20         Call from Mr. Byers re: information needed;                                                               SKC           0.3

                                                                                                          Total Hours                    1.8

Attorney Time Summary:
Attorney                                               Hours             Rate                Value
Siobhan K. Cole                                         1.80 at       $350.00 =             630.00
                                              Current Fees                                                                           630.00


                                                        Total Amount of This Invoice                                                 630.00

                                                        Prior Balance Due                                                       692,907.23


                                                        Total Balance Due Upon Receipt                                          693,537.23




                                Delaware | Massachusetts | New Jersey | New York | Pennsylvania | Rhode Island
1650 Market Street | One Liberty Place, Suite 1800 | Philadelphia, PA 19103-7395                                        TAX I.D. # XX-XXXXXXX
Main 215.864.7000 | Fax 215.864.7123


Crawl Space Door Systems                                                                                  Invoice Number            768643
3700 Shore Drive #101                                                                                     Invoice Date             09/11/20
Virginia Beach, VA 23455                                                                                  Client Number            0036031
                                                                                                          Matter Number              00001

Attn: William G Sykes


Our File:     0036031.00001                                                                          Handling Attorney: Siobhan K. Cole

Re: Smart Vent Products, Inc. v. Crawl Space Door System, Inc.

For Professional Services Rendered from 08/01/20 through 08/31/20:


Date                                                                                                                        Atty     Hours
08/03/20         Reviewed dockets and other necessary documents to determine propriety of exhibit                          SKC           1.3
                 use;
08/04/20         Reviewed list of exhibits from Attorney Byers and assembled same;                                         NBM           1.3
08/04/20         Retrieved Exhibits from Archive case for Natalie Molz;                                                    RCP           0.2

                                                                                                          Total Hours                    2.8

Attorney Time Summary:
Attorney                                               Hours             Rate                Value
Siobhan K. Cole                                         1.30 at       $350.00 =             455.00
Natalie B. Molz                                         1.30 at       $275.00 =             357.50
Ryan C. Penny                                           0.20 at        $85.00 =              17.00
                                              Current Fees                                                                           829.50


                                                        Total Amount of This Invoice                                                 829.50

                                                        Prior Balance Due                                                       688,537.23


                                                        Total Balance Due Upon Receipt                                          689,366.73




                                Delaware | Massachusetts | New Jersey | New York | Pennsylvania | Rhode Island
1650 Market Street | One Liberty Place, Suite 1800 | Philadelphia, PA 19103-7395                                        TAX I.D. # XX-XXXXXXX
Main 215.864.7000 | Fax 215.864.7123


Crawl Space Door Systems                                                                                  Invoice Number            771681
3700 Shore Drive #101                                                                                     Invoice Date             10/14/20
Virginia Beach, VA 23455                                                                                  Client Number            0036031
                                                                                                          Matter Number              00001

Attn: William G Sykes


Our File:     0036031.00001                                                                          Handling Attorney: Siobhan K. Cole

Re: Smart Vent Products, Inc. v. Crawl Space Door System, Inc.

For Professional Services Rendered from 09/01/20 through 09/30/20:


Date                                                                                                                        Atty     Hours
09/24/20         Reviewed and analyzed order and opinion on post trial motions and exchanged email                         SKC           0.5
                 correspondence re: same;


09/25/20         Reviewed Order entering judgment and emailed Mr. Sykes re: same;                                          SKC           0.2

                                                                                                          Total Hours                    0.7

Attorney Time Summary:
Attorney                                               Hours             Rate                Value
Siobhan K. Cole                                         0.70 at       $350.00 =             245.00
                                              Current Fees                                                                           245.00


                                                        Total Amount of This Invoice                                                 245.00

                                                        Prior Balance Due                                                       684,366.73


                                                        Total Balance Due Upon Receipt                                          684,611.73




                                Delaware | Massachusetts | New Jersey | New York | Pennsylvania | Rhode Island
1650 Market Street | One Liberty Place, Suite 1800 | Philadelphia, PA 19103-7395                                        TAX I.D. # XX-XXXXXXX
Main 215.864.7000 | Fax 215.864.7123


Crawl Space Door Systems                                                                                  Invoice Number            774219
3700 Shore Drive #101                                                                                     Invoice Date             11/16/20
Virginia Beach, VA 23455                                                                                  Client Number            0036031
                                                                                                          Matter Number              00001

Attn: William G Sykes


Our File:     0036031.00001                                                                          Handling Attorney: Siobhan K. Cole

Re: Smart Vent Products, Inc. v. Crawl Space Door System, Inc.

For Professional Services Rendered from 10/01/20 through 10/31/20:


Date                                                                                                                        Atty     Hours
10/20/20         Reviewed and analyzed filing notices from Dist of NJ;                                                     SKC           0.4
10/22/20         Drafted and Finalized Withdrawal of Appearances;                                                          SKC           0.5
10/26/20         Edits to Withdrawal of Appearance for S. Cole and M. Onufrak; Sending same to S.                            MB          0.5
                 Cole;

                                                                                                          Total Hours                    1.4

Attorney Time Summary:
Attorney                                               Hours             Rate                Value
Morgan Birch                                            0.50 at       $295.00 =             147.50
Siobhan K. Cole                                         0.90 at       $350.00 =             315.00
                                              Current Fees                                                                           462.50

For Costs Advanced and Expenses Incurred:

Date                                                                                               Value
10/07/20         Searches – Pacer                                                                    0.70

10/07/20         Searches – Pacer                                                                    3.00
                                              Current Expenses                                                                          3.70


                                                        Total Amount of This Invoice                                                 466.20

                                                        Prior Balance Due                                                       679,611.73


                                                        Total Balance Due Upon Receipt                                          680,077.93




                                Delaware | Massachusetts | New Jersey | New York | Pennsylvania | Rhode Island
EXHIBIT “F”
                                ASSIGNMENT AGREEMENT



        THIS ASSIGNMENT AGREEMENT is made this 2nd day of June, 2021 by White and

Williams LLP, a Pennsylvania limited partnership (“W&W”), to Philadelphia Professional

Collections LLC, a Pennsylvania limited liability company (“PPC”).

                                        BACKGROUND

        A.     W&W is a Pennsylvania limited partnership engaging in the practice of law.

        B.     PPC is a Pennsylvania limited liability company, engaged in the business of

collecting accounts receivable and other claims of professional organizations such as law firms,

accounting firms, physicians, accountants, etc.

        C.     W&W desires to sell, assign, transfer and convey all of its right, title and interest,

in, to and under any accounts, contract rights, claims or causes of action (collectively, “Claims”)

that it has against Crawl Space Door Systems, Inc. to PPC.

                                         ASSIGNMENT

        NOW, THEREFORE, W&W, intending to be legally bound hereby, and for good and

valuable consideration, the receipt and sufficiency of which is hereby acknowledged, agrees as

follows:

        1.     Assignment. W&W hereby sells, assigns, transfers, and conveys unto PPC, all of

W&W’s right, title, interest and ownership of any nature whatsoever, in, to, or under any Claims

which W&W has or may have against Crawl Space Door Systems, Inc. (the “Account Debtor”).

Such assignment is non-recourse to W&W.

        2.     Assignor’s Representations and Warranties. W&W represents and warrants to

PPC that it has the right to assign the Claims hereunder, that such Claims are assigned free and

clear of any liens, claims or encumbrances whatsoever in favor of any third party, and that


27225175v.1
W&W has not previously pledged, assigned, sold, transferred or encumbered any of the Claims

set forth herein to any other party, person or entity. Furthermore, W&W represents and warrants

that the total amount of accounts receivable due and owing by the Account Debtor to W&W is,

as of June 2, 2021, $670,077.93. W&W makes no representations or warranties whatsoever

except those set forth above.

        3.     Cooperation. W&W agrees to cooperate with PPC in connection with the

collection of the Claims and, if necessary, to testify at any proceedings commenced by PPC to

collect or otherwise satisfy same. In addition, W&W will make its files available to PPC, if

necessary, in connection with such collective activities.

        4.     Miscellaneous. This Agreement constitutes the entire agreement and

understanding of the parties with respect to the subject matter hereof and will be governed and

interpreted in accordance with the laws of the Commonwealth of Pennsylvania.

                                                      WHITE AND WILLIAMS LLP


                                                   By_________________________________
                                                           Andrew F. Susko, Partner



Acceptance of Assignment:

Philadelphia Professional Collections LLC
hereby accepts the above Assignment:




___________________________________
Peter J. Mooney, President




                                                -2-
27225175v.1
EXHIBIT “G”
EXHIBIT “H”
EXHIBIT “I”
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           E-Signature Summary

           E-Signature 1: Siobhan K Cole (skc)
           October 07, 2022 07:46:29 -8:00 [F65AC1FD7EE0] [38.98.196.78]
           coles@whiteandwilliams.com (Principal) (Personally Known)
           E-Signature Notary: Donna Maria Kobryn (DMK)
           October 07, 2022 07:46:29 -8:00 [71E356698E58] [100.34.57.40]
           kobrynd@whiteandwilliams.com
           I, Donna Maria Kobryn, did witness the participants named above
           electronically sign this document.




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                                                                                                                                        IN THE UNITED STATES DISTRICT COURT
                                                                                                                                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                                                                                          PHILADELPHIA PROFESSIONAL COLLECTIONS,                             :
                                                                                                          LLC,                                                               :
                                                                                                                                         Plaintiff,
                                                                                                                                                                             :
                                                                                                                                                                             :    CIVIL ACTION
                                                                                                                                v.
                                                                                                                                                                             :    Case No. 2:21-cv-05476-GAM
                                                                                                                                                                             :
                                                                                                          CRAWL SPACE DOOR SYSTEM, INC. d/b/a CRAWL
                                                                                                          SPACE DOOR SYSTEMS, INC.,                                          :
                                                                                                                                                                             :
                                                                                                                                                              Defendant.     :
                                                                                                                                                                             :

                                                                                                                                            AFFIDAVIT OF SIOBHAN K. COLE, ESQUIRE

                                                                                                                     Siobhan K. Cole, being duly sworn according to law, deposes and says as follows:

                                                                                                                     1.         I am a partner at White and Williams LLP (“W&W”).

                                                                                                                     2.         I was lead counsel for Crawl Space in the Smart Vent v. Crawl Space matter

                                                                                                          litigated in the United States District Court for the District of New Jersey.

                                                                                                                     3.         I have reviewed the unpaid invoices attached as Exhibit E to the Affidavit of Peter
905FD7D7-D3F0-49A0-90C8-4D5FDD642680 --- 2022/10/07 07:43:00 -8:00 --- Remote Notary




                                                                                                          J. Mooney.

                                                                                                                     4.         The time entries are accurate in their description of the work performed and the

                                                                                                          time it took to do it. The rates are correct.

                                                                                                                     5.         Mr. Sykes never complained to me that the firm was overbilling Crawl Space for

                                                                                                          its work in the New Jersey litigation.

                                                                                                                     6.         Attached as Exhibit M to PPC’s Memorandum of Law is a copy of an email

                                                                                                          exchange between me and Mr. Sykes dated January 15, 2019 concerning rates charged by WW

                                                                                                          to Crawl Space and Mr. Sykes’ acceptance of them.


                                                                                                          29725944v.1

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                                                                                                                                     7.      Attached as Exhibit N to PPC’s Memorandum of Law is a copy of another email

                                                                                                              exchange between me and Mr. Sykes dated January 15, 2019 concerning rates.



                                                                                                                                                                                                                           F65AC1FD7EE0



                                                                                                                                                                             Siobhan K Cole
                                                                                                                                                                               Signed on 2022/10/07 07:46:29 -8:00




                                                                                                                                                                          Siobhan K. Cole




                                                                                                              COMMONWEALTH OF PENNSYLVANIA                                            :
                                                                                                              COUNTY OF PHILADELPHIA                                                  :

                                                                                                                                                                                                     7th                                  October
                                                                                                                                     Signed and sworn to (or affirmed) before me on _______ day of ________________,

                                                                                                              2022 by Siobhan K. Cole.

                                                                                                                                                                                                          71E356698E58




                                                                                                                                                                               Signed on 2022/10/07 07:46:29 -8:00



                                                                                                                                                                          Notary Public
905FD7D7-D3F0-49A0-90C8-4D5FDD642680 --- 2022/10/07 07:43:00 -8:00 --- Remote Notary




                                                                                                         DocVerify




                                                                                                        Commonwealth of Pennsylvania - Notary Seal
                                                                                                        Donna Maria Kobryn, Notary Public
                                                                                                        Bucks County
                                                                                                        My Commission Expires Nov 15, 2024
                                                                                                        Commission Number 1087359
                                                                                                      Notary Stamp 2022/10/07 07:46:29 PST                 71E356698E58




                                                                                                        Notarial act performed by audio-visual communication




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